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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,  :
                           :
         v.                :                 CRIMINAL ACTION FILE
                           :
                           :                  NO. 1:11-CR-230-JEC-GGB
KORY JOSEPH GODUTO,        :
PASQUALE PETER GODUTO,     :
MARK JAMES O’BRIEN, LORI   :
RENE ANDERSON, PHILLIP     :
HOBBS, RYAN PATRICK        :
TRENTO, and JUSTIN HOWARD, :
                           :
              Defendants.  :



         ORDER and FINAL REPORT AND RECOMMENDATION

      Defendants are charged with conspiring to possess with intent to distribute

oxycodone, a Schedule II controlled substance. Defendants Kory Joseph Goduto, Lori

Rene Anderson, Ryan Patrick Trento and Phillip Hobbs filed no motions in this case.

      I authorized funds for a mental examination on Defendant Hobbs, and one was

conducted on October 4, 2011. Defendant’s counsel has not shared the doctor’s report

with the court, but has advised the court that he has no reason to believe that

Defendant is mentally incompetent. Defendant has previously entered a plea of guilty.

He is certified ready for sentencing.
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I. Justin Howard’s Motion for Leave to File Bill of Particulars

      Defendant Justin Howard filed a Motion for Leave to File Bill of Particulars

[Doc. 126] in which he requests the government to describe the conduct and overt acts

in which Howard engaged and the dates of his overt acts.

      "The purpose of a bill of particulars is to inform the defendant of the charge[s]

against him with sufficient precision to allow him to prepare his defense, to minimize

surprise at trial, and to enable him to plead double jeopardy in the event of a later

prosecution for the same offense." United States v. Cole, 755 F.2d 748, 760 (11th Cir.

1985). A bill of particulars may not be used for the purpose of obtaining detailed

disclosure of the government's case or evidence in advance of trial. See United States

v. Perez, 489 F.2d 51, 70-71 (5th Cir. 1973).

      The information that Howard requests is beyond the scope of a bill of

particulars. Howard should be able to prepare his defense, minimize surprise at trial

and plead double jeopardy in the event of a later prosecution for the same offense

based on the indictment, other hearings held in this case, and the discovery materials

provided to him by the government. For these reasons, Howard’s Motion for Leave

to File Bill of Particulars [Doc. 126] is DENIED.

II. Pasquale Peter Goduto’s Motions

      A. Motion to Suppress Identification Testimony
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      Pasquale Peter Goduto moves to suppress identification testimony made by a

pharmacy employee from a photographic lineup. A copy of the photographic lineup

is attached to Defendant’s Motion [Doc. 151] as Exhibit “A”.

      In order to successfully challenge an allegedly defective photo spread, the

defendant must show that the photo spread from which the witnesses’ initial

identification was made is "so impermissibly suggestive as to give rise to a very

substantial likelihood of irreparable misidentification." Simmons v. United States,

390 U.S. 377, 384, 88 S. Ct. 967 (1968).

      This determination involves a two-step process. The first question is whether

the photo spread is impermissibly suggestive. "The crucial test of suggestiveness is

. . . whether it can be said that the picture selected would inevitably have been selected

whether or not the individual pictured was guilty or innocent." Cikora v. Wainwright,

661 F. Supp. 813, 819 (S.D. Fla. 1987), aff'd sub nom. Cikora v. Dugger, 840 F.2d

893 (11th Cir. 1988). If the photo spread is determined not to be impermissibly

suggestive, there is no need to proceed to the second part of the analysis, and the

inquiry ends. Cikora v. Dugger, 840 F.2d at 895.

      The defendant alleges that there was a “glaring lack of commonality in the

photographs.” The court disagrees. Each of the photographs depicts a head shot of

white male who appears to be over the age of 45. The court does not know which one
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is the Defendant. As each person and photograph is unique, one can always find in

an individual's photograph a distinctive feature not present in the other photographs.

There is no indication that the identification procedure was in any way suggestive.

      For these reasons, the undersigned RECOMMENDS that defendant's Motion

to Suppress Identification Testimony [Doc. 151] be DENIED without an evidentiary

hearing.

      B. Motion to Sever

       Pasquale Peter Goduto moves to sever his case from that of his co-defendants

on the ground that his participation in the charged conduct was minimal compared to

that of his co-defendants and that there will be an unfair spillover effect from the

evidence against the other defendants.

      Defendant does not argue that he is improperly charged together in the same

indictment with the other defendants. See Fed. R. Crim. P. 8(b). Rather, he argues

that his case should be severed pursuant to Fed. R. Crim. P. 14 which allows relief

from prejudicial joinder in the discretion of the court.

      The defendant bears a heavy burden of demonstrating that "a joint trial will

result in specific and compelling prejudice to the conduct of his defense." United

States v. Schlei, 122 F.3d 944, 984 (11th Cir. 1997); United States v. Kabbaby, 672

F.2d 857, 861 (11th Cir. 1982). "The test of compelling prejudice is whether under
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all the circumstances of the particular case as a practical matter it is within the

capacity of the jury to follow the admonitory instructions and accordingly to collate

and appraise the independent evidence, statements and conduct." Kabbaby, 672 F.2d

at 861.

      A disparity in the evidence admissible against one defendant as compared to his

co-defendant is not a sufficient basis for a severance. Schlei, 122 F.3d at 984. In this

case, the defendants are charged together in one conspiracy count. There is no reason

to believe that the trial jurors will not be able to follow the trial judge's instructions

and appraise the independent evidence against each defendant.

      For these reasons, I RECOMMEND that Pasquale Peter Goduto’s Motion to

Sever [Doc. 146] be DENIED.

III. Defendant O’Brien’s Motion to Suppress

      Defendant O’Brien had an evidentiary hearing on his motion to suppress;

however he has filed a motion to withdraw the motion to suppress. Therefore,

Defendant O’Brien’s Motion Withdraw his Motion to Suppress [Doc. 213] is

GRANTED, and his Motion to Suppress Seized Evidence [Doc. 152] is deemed

WITHDRAWN.

IV. Conclusion
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        Justin Howard’s Motion for Leave to File Bill of Particulars [Doc. 126] is

DENIED.

        I RECOMMEND that defendant Pasquale Peter Goduto’s Motion Suppress

Identification Testimony [Doc. 151] and Motion to Sever [Doc. 146] be DENIED.

His Motion for Extra Time to File Evidentiary Motions [Doc. 115] is DENIED AS

MOOT because the court has considered all of his motions timely filed.

        Defendant O’Brien’s Motion to Withdraw his Motion to Suppress [Doc. 213]

is GRANTED, and his Motion to Suppress Seized Evidence [Doc. 152] is deemed

WITHDRAWN.

        There are no other pending matters before the Magistrate Judge as to these

defendants, and the undersigned is aware of no problems relating to the scheduling of

further proceedings by the District Court. IT IS THEREFORE ORDERED and

ADJUDGED that this action be, and the same is hereby, declared Ready For Trial

and/or sentencing.

        IT IS SO ORDERED and RECOMMENDED this the 29th of November,

2011.



                                        GERRILYN G. BRILL
                                        UNITED STATES MAGISTRATE JUDGE
